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                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 EASTERN DIVISION                                R L. C,t7-1V D

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R. ALEXANDER ACOSTA,                                )                                               AL A
Secretary of Labor,                                        MAR - 1 2018 .FILE
                                                    )
United States Department of Labor,                                             :1W -CV` 1 1-15
                                                             CLERK
                                                     p.s. DISTRICT
                              Plaintiff,
                                                    )
                                                     w             COURT
                                                         IDDLE DIST. OF ALA.

               v.


SLOCUMB LAW FIRM, LLC,and
MICHAEL W. SLOCUMB (an individual)

                                                                    COMPLAINT
                              Defendants.                        (Injunctive Relief Sought)


              Plaintiff brings this action pursuant to § 17 of the Act, 29 U.S.C. § 217, to have

Defendants enjoined from violating provisions of the Fair Labor Standards Act of 1938, as

amended, 29 U.S.C. § 201, et seq.,(hereinafter "the Act") and, pursuant to § 16(c) of the Act, 29

U.S.C. § 216(c), to recover unpaid back wages, together with an equal amount as liquidated

damages.
                                                I

              This Court has jurisdiction over this action pursuant to §§ 16(c) and 17 of the Act

and 28 U.S.C. §§ 1331 and 1345.
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                                                     II

               Defendant, Slocumb Law Firm, LLC at all times hereinafter mentioned, has been

a corporation having a place of business and doing business in Lee County, Alabama.

               Defendant, Michael W. Slocumb, at all times hereinafter mentioned has been an

owner of Slocumb Law Firm, LLC and had operational control of its employees. Defendant

Michael W. Slocumb, doing business in Lee County, Alabama at all times hereinafter mentioned,

acted directly or indirectly in the interest of the aforesaid corporation in relation to its employees

and, therefore, is an employer within the meaning of § 3(d) of the Act, 29 U.S.C. § 203(d).

                                               III

               At all tirnes hereinafter mentioned:

               A.      Defendant engaged in related activities performed either through unified

operation or common control for a common business purpose, constitutes an enterprise within

the meaning of § 3(r) of the Act, 29 U.S.C. § 203(r); and

               B.      Such enterprise, employing employees engaged in commerce or in the

production of goods for commerce, or employees handling, selling or otherwise working on

goods or materials that have been moved in or produced for commerce; and having an annual

gross volume of sales made or business done of not less than $500,000 (exchlsive of excise taxes

at the retail level which are separately stated), constitutes an enterprise engaged in commerce or

in the production of goods for commerce, within the meaning of § 3(s)(1)(A) of the Act, 29

U.S.C. § 203(s)(1)(A).




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                                                 IV

                Since April 26, 2015, Defendants repeatedly violated the provisions of §§ 7 and

 15(a)(2) of the Act, 29 U.S.C. §§ 207 and 215(a)(2), by employing employees in an enterprise

engaged in commerce or in the production of goods for commerce, for workweeks longer than 40

hours without compensating such employees for their employment in excess of such hours at

rates not less than one and one-halftimes the regular rates at which they were employed.

                                                  V

                Since April 26, 2015, Defendants, employers subject to the provisions of the Act,

repeatedly violated the provisions of §§ 11(c) and 15(a)(5) of the Act, 29 U.S.C. §§ 211(c) and

215(a)(5), and Regulations found at 29 C.F.R. § 516 by failing to make, keep and preserve

adequate and accurate records of the persons employed and of the wages, hours and other

conditions and practices of employment maintained by them, as prescribed in the aforesaid

Regulations.

               WHEREFORE,cause having been shown, Plaintiff prays for Judgment pursuant

to § 17 ofthe Act, 29 U.S.C. § 217, permanently enjoining Defendants, their agents, servants,

employees and all persons in active concert or participation with them from violating the

provisions of §§7, 11(c), 15(a)(2) and 15(a)(5) of the Act and, pursuant to § 16(c) of the Act, 29

U.S.C. § 216(c), awarding back wages for a period 2 years prior to the commencement of this

action and an additional equal amount as liquidated damages to employees (as named in

Schedule "A" attached hereto and made a part hereof and such other employees as hereafter may

be identified and named prior to or at trial); and for such other and further relief as may be

necessary and appropriate including costs of this action.




                                                 3
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                                              U. S. Department of Labor
SOL Case No: 18-00288                         Attorneys for Plaintiff.
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                 Slocumb Law Firm,LLC and Michael W.Slocumb
                                 Appendix A



 1. Bennington, Kirstyn
 2. Bowden, Melissa
 3. Buford, Shannasha
 4. Carnpbell, aerie
5. Cook, Tamaya
6. Cooper, LaBrittney
 7. Cowart, Reed
8. Dye,Emili
9. Gasaway, Angel
 10. Glass, Whitney
 11. Grantham, Katelyn
 12. Green, Camisha
 13. Herring, Stacey
              Tikemo
 15. Jackson, Lashaunda
16. Jefferson, Jeffrezz
17. Johnson, Shammetra
18. Johnson, Sharon
19. Jones, Sarah
20. McKee,Shawnee
21. Monks, Maggie
22. Morse, Stephanie
23. Nienoff, Nicole
24. Perso, Marquisha
25. Phares, Hunter
26. Pierson, Amber
27. Pittman, Ashley
28. Poole, Kimberly
29. Sides, Daphne
30. Simmons, Erica
31. Snowden, Shondrika
32. Stillman, Sarah
33. Swann, Kealee
34. Thompson, Madison
35. Titus-Mitchell, Monike
36. Walker, Alisia
37. Watson, Kayla
38. Weathers, Lashanda N.
39. White, William
40. Whitehead, Bethany
41. Williams, Tammy
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42. Wright, Kristen
